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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )             Case No. CR07-0027-RSM
10         v.                             )
                                          )
11   GREGORY WHITE,                       )             DETENTION ORDER
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offenses charged:

15          Count 1: Conspiracy to Commit Identity Theft and Bank Fraud in violation of 18 U.S.C.

16 §§ 1028, 1348, and 2.

17          Counts 3 through 9:       Aggravated Identity Theft in violation of 18 U.S.C. §§

18 1028A and 2.

19          Count 13: Possession of Document Making Implements in violation of 18 U.S.C.

20 § 1028(a)(5).

21 Date of Detention Hearing: March 6, 2007.

22          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

23 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

24         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

25          (1)     The defendant is presently in custody.

26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (2)     Defendant has not been interviewed by Pretrial Services and, therefore, his ties

02 and contacts to this community or to the Western District of Washington are unknown.

03          (3)    Defendant has stipulated to detention, but reserves the right to contest his

04 continued detention if there is a change in circumstances.

05          (4)    Defendant is a flight risk and a danger to the community based on the nature of

06 the pending charges. There appear to be no conditions or combination of conditions other than

07 detention that will reasonably assure the defendant’s appearance at future Court hearings or

08 address issues of safety.

09          IT IS THEREFORE ORDERED:

10          (1)    Defendant shall be detained pending trial and committed to the custody of the

11                 Attorney General for confinement in a corrections facility separate, to the extent

12                 practicable, from persons awaiting or serving sentences or being held in custody

13                 pending appeal;

14          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

15                 counsel;

16          (3)    On order of a court of the United States or on request of an attorney for the

17                 government, the person in charge of the corrections facility in which defendant

18                 is confined shall deliver the defendant to a United States Marshal for the purpose

19                 of an appearance in connection with a court proceeding; and

20          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

21                 counsel for the defendant, to the United States Marshal, and to the United States

22                 Pretrial Services Officer.



                                                         A
23                 DATED this 7th day of March, 2007.

24
                                                         JAMES P. DONOHUE
25                                                       United States Magistrate Judge
26

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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